                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



  AMERICAN ASSOCIATION OF
  UNIVERSITY PROFESSORS, ET AL.,

                             Plaintiffs,
                                                          Civil Action No. 1:25-cv-10685-WGY
                 -v-
                                                          Declaration of William S. Walker
MARCO RUBIO, in his official capacity as
Secretary of State, and the DEPARTMENT OF
STATE, ET AL.,

                             Defendants.


                          DECLARATION OF WILLIAM S. WALKER

I, William S. Walker, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

         1.    Todd Lyons, Acting Director of ICE, has delegated to me the authority to assert the

deliberative process privilege and law enforcement privilege on his behalf regarding the

documents at issue in this litigation.

         2.    I am the Acting Deputy Executive Associate Director for Homeland Security

Investigations (HSI) at U.S. Immigration and Customs Enforcement (ICE) within the U.S.

Department of Homeland Security (DHS). This is a career position, not political, and is the second-

highest ranking position at HSI. In this role, I oversee a workforce of more than 10,000 employees,

including special agents, criminal analysts, mission support personnel and contract staff assigned

to more than 237 offices throughout the United States and more than 56 countries around the

world.

         3.    I previously served as the Acting Assistant Director ((A) AD) for Domestic

Operations at HSI. As the (A) AD, I was responsible for oversight of 30 HSI Special Agents in
Charge, 237 domestic field offices, and more than 7,100 special agents, ensuring all field

operations are working to efficiently execute the agency mission. I began my career with the U.S.

Government as an Inspector with the former U.S. Customs Service at the Port of Philadelphia.

Over a career that spans 26 years, I have served as a Deputy Special Agent in Charge, an Assistant

Special Agent in Charge, and a Supervisory Special Agent with HSI. Prior to my time as (A) AD

for Domestic Operations, I served as the Special Agent in Charge of HSI’s New York Field Office,

where I oversaw more than 700 investigators whose mission was investigating, disrupting, and

dismantling transnational criminal organizations and two terrorist networks.

       4.      This declaration is based on my personal knowledge and experience as a law

enforcement officer and information provided to me in my official capacity.

       5.      I am aware of the instant lawsuit been filed in the U.S. District Court for the District

of Massachusetts. I understand that ICE is a named defendant.

       6.       I submit this declaration to explain the assertion of the law enforcement privilege

(LEP) and deliberative process privilege (DPP) with respect to highly sensitive information that

Plaintiffs seek the court to compel be publicly released. Specifically, Plaintiffs attempted to elicit

such information during the June 11, 2025, deposition of Andre Watson, the Assistant Director

(AD) of HSI’s National Security Division (NSD). The material sought is subject to the law

enforcement privilege (LEP) and deliberative process privilege (DPP). ICE’s equities would be

harmed by the release of this information, as discussed in greater detail below, because public

release of this information would undermine ICE’s law enforcement efforts.

       7.       Based upon my personal review and knowledge of the information solicited by

Plaintiffs, I am formally asserting LEP and DPP over the answers to following questions, which

the government withheld as privileged:




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Material Subject to the LEP:

a. June 11, 2025 Deposition of AD Watson, page 244:16 through page 245:11:

       i. “Q: Do you recall whether there was any -- do you recall the kinds -- well,

          this will draw an objection, but do you recall whether there was any

          evidence attached to the report of analysis that you received?” [Answer

          withheld as privileged.]

       ii. “Q: Were you provided any primary source information regarding Mr.

          Khalil's activities?” [Answer withheld as privileged.]

      iii. “Q: Were you provided, for example, with any flyers from protests that Mr.

          Khalil allegedly led?” [Answer withheld as privileged.]

b. June 11, 2025 Deposition of AD Watson, page 260:11 through page 263:12:

       i. “Ms. Conlon: Okay. So before I continue questioning, I'm just going to

          make a record of the topics that I would cover with Mr. Watson with respect

          to the four other targeted noncitizens . . . First, the content of any referral

          made under this new process to the Department of State, including its basis;

          second, the content of the accompanying letter; third, the HSI profile of the

          targeted noncitizen; fourth, the report of analysis concerning the targeted

          noncitizen; fifth, communications with anyone concerning the decision to

          take action against the targeted noncitizen and the nature of the actions that

          was discussed. I've lost count of the number, but next, communications

          concerning the manner in which any subsequent action would be taken

          against a targeted noncitizen, including with respect to the manner of their

          arrest and detention … to complete it, and more generally and most




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                       importantly, the basis of the referral determinations, the reason these

                       noncitizens were referred.”

                       [Withholding as privileged any information beyond the “practices, policies,

                       and protocols, generally in play at the time” of the enforcement actions in

                       question.]

            Material Subject to the LEP and DPP:

            c. June 11, 2025 Deposition of AD Watson, page 249:22-24 through page 250:2:

                   i. “[Q]: If, in your estimation, Mr. Khalil had sided with terrorists, would the

                       paperwork that you sent to the Department of State have invoked a

                       terrorism-related ground for his removal?” [Answer withheld as privileged.]


       8.      HSI, the largest investigative arm of DHS and component of ICE, holds broad

criminal and administrative investigative authorities, which it employs to disrupt national security

and transnational criminal threats to the United States. HSI is authorized to conduct, and does

conduct, both criminal and administrative investigations into national security and public safety

threats related to immigration and transnational crime. In many cases, the final disposition of an

investigation depends on the evidence gathered, and it can be impossible to know in the early

stages whether the ultimate result will be criminal prosecution, administrative proceedings, both,

or neither. Public disclosure of protected information could also harm the collaborative

relationship between ICE and other federal government agencies, counterparts by inhibiting the

current willingness – and even creating a disincentive – to share information between and among

federal agencies. The post-9/11 model of “need to share” with respect to investigative information

has permitted front-line agents and officers to make informed decisions at critical junctures. When

agencies and departments work in isolation, such achievements simply are not possible. Any



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degradation of information-sharing relationships could lead to poor coordination of investigative

efforts, potentially harming public safety and national security.

        9.       The release of the information that Plaintiffs seek would reveal sensitive

information subject to LEP. This includes information regarding the evidence considered in

deciding whether to take enforcement action against specific individuals. The revelation of such

information could undermine the efforts of HSI to carry out its mission of identifying criminal and

national security activities and eliminating vulnerabilities that pose a threat to our nation’s borders,

as well as ensuring economic, transportation, infrastructure, and national security.

        10.      In carrying out its mission, ICE depends on the use of law enforcement and

investigative techniques, methods, and procedures not widely known to the public; this

information is LEP. Put simply, the release of information Plaintiffs seek would compromise ICE’s

ability to perform its mission and is properly designated LEP. Disclosure of law enforcement

privileged information could provide those who wish to harm the United States with valuable

information about how the U.S. Government detects, investigates, and thwarts activity that impacts

public safety and national security and violates U.S. laws. Disclosure of any such existing

information related to investigative processes, coordination with law enforcement partners, or

insight into the types of information contained in law enforcement checks could significantly

undermine future law enforcement efforts. As described in this declaration, disclosing information

that could ultimately provide bad actors with the information they need to evade, or otherwise

thwart, U.S. law enforcement efforts has potentially grave consequences for national security and

public safety.

          11.    In addition to the threat posed by general release, if subjects of investigations were

to obtain LEP related to the investigations into their activities, should any exist, they could identify




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what behaviors are of interest to federal law enforcement, the sources of the information, and/or

the methods that the U.S. Government used to gather the information. Such knowledge could allow

bad actors to change their behavior in order to evade law enforcement. Hypothetically, even the

date on which an investigation began provides valuable insight, in that it can alert an individual to

an event that may have triggered the interest of law enforcement. Further, even information

regarding closed investigations could provide awareness of investigative techniques that can aid

bad actors in avoiding detection by law enforcement agencies or could alert them to potential

methods the government has used to obtain specific derogatory information. Disclosure of such

types of information increases the likelihood that subjects and potential subjects of investigations

will develop methods to obscure or alter such information and behavior and thereby circumvent

the agency’s efforts to collect information and evidence to thwart serious violations that may affect

the national security.

       12.     The information withheld under the deliberative process privilege includes the

considerations ICE made in deciding the type of enforcement action that would be appropriate

with regard to a specific individual. To create a coordinated and cohesive Executive Branch

policy, ICE employees routinely communicate not only with each other, but also with other DHS

components, and other federal agencies. Such communications are part of a larger strategic

decision-making process, often to effectuate polices programs, executive orders, or other

documents. It is crucial that these pre-decisional and deliberative communications be protected

because informed and frank discourse among federal officials ensures that ideas, even those that

are unpopular, are fully and properly considered by decisionmakers prior to making final decisions.

       13.     If disclosed, the release of information ICE has withheld here as DPP could chill

an exchange of information between federal agencies, other DHS components, and ICE offices




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and employees, thus impeding their decision-making process. This is especially true where, as

here, the opinions, proposals, and recommendations of ICE employees may concern controversial

approaches to the government’s border security and immigration enforcement and ICE’s priorities.

If ICE employees are aware that their opinions, deliberations, and recommendations may be

subject to public disclosure–and the scrutiny and critics that may follow, the candor of their views

could be chilled. This chilling effect is magnified when those opinions, deliberations, and

recommendations are taken out of context. It is thus critical that pre-decisional and deliberative

communications and procedures be protected from disclosure based on DPP.

         14.   Given the sensitive and privileged nature of the information, there are no

precautions that would allow ICE to safely release this information to Plaintiffs or the public at

large.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on this 27th Day of June 2025.
                                                 WILLIAM S                     Digitally signed by WILLIAM S
                                                                               WALKER
                                                 WALKER                        Date: 2025.06.27 11:40:31 -04'00'
                                                             ___________________
                                                      William S. Walker
                                                      Acting Deputy Executive Associate Director
                                                      Homeland Security Investigations
                                                      U.S. Immigration and Customs Enforcement
                                                      U.S. Department of Homeland Security




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